      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 1 of 7



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 PO K. LIN,

                                     Plaintiff,

           v.                                             ANSWER

 COUNTY OF MONROE, PATRICK O’FLYNN,                       Case No. 10 CV 6474 L
 SHERIFF, MONROE COUNTY SHERIFF’S
 DEPARTMENT, DEPUTIES JOEY LUTHER,                        Trial By Jury Is Demanded
 MICHAEL THOMPSON, AND ROBERT
 MURPHY, In Their Official and Individual
 Capacities,

                                     Defendants.



       Defendants County of Monroe {County}, Sheriff Patrick O’Flynn {Sheriff

O’Flynn}, Monroe County Sheriff’s Department, Joedy Luther (sued herein as Joey

Luther) {Deputy Luther}, Michael Thomas (sued herein as Michael Thompson), and

Robert Murphy {collectively the County Defendants} answer the plaintiff’s Complaint as

follows:


       1.       Admit the allegations contained in paragraphs 7, 8, 45, 47, 48 and 49 of

plaintiff Po K. Lin’s {Lin} Complaint.

       2.       Deny the allegations contained in paragraphs 1, 2, 6, 9, 20, 23, 24, 27, 28,

29, 30, 31, 32, 33, 34, 37, 38, 39, 43, 57, 59, 60, 61, 62, 63, 64, 66, 67, 68, 69, 70, 72,

73, 74, 75, 77, 78, 79, 81, 82, 83, 84, 85, 86, 88 and 89 of Lin’s Complaint.

       3.       Lack knowledge or information sufficient to form a belief as to the

allegations contained in paragraphs 3, 4, 5, 10, 13, 14, 15, 16, 17, 18, 35, 46, 50, 54,

55, 56 and 58 of Lin’s Complaint.
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 2 of 7



       4.     Admit the allegations contained in paragraph 11 of Lin’s Complaint,

except deny so much of paragraph 11 which alleges that the County was the employer

of Deputy Luther, Deputy Thomas, and Sgt. Murphy.

       5.     Admit the allegations contained in paragraph 12 of Lin’s Complaint,

except deny so much of paragraph 12 which alleges that Sheriff O’Flynn authorized,

condoned, permitted or ratified any policy that permitted the use of excessive force, and

state that Sheriff O’Flynn is the final policy maker with respect to use of force.

       6.     Admit the allegations contained in paragraph 19 of Lin’s Complaint,

except deny so much of paragraph 19 which alleges that the quoted language is a

verbatim recitation of Lin’s statement in context, without interruption and without editing.

       7.     Deny the allegations contained in paragraph 21 of Lin’s Complaint,

except admit so much of paragraph 21 which alleges that Lin was asked to exit the

vehicle.

       8.     Admit the allegations contained in paragraph 22 of Lin’s Complaint,

except lack knowledge or information sufficient to form a belief as to whether the

quoted language is a verbatim recitation of the deputy’s statement in context, without

interruption and without editing.

       9.     Deny the allegations contained in paragraph 25 of Lin’s Complaint,

except admit so much of paragraph 25 which alleges that the deputies requested that

Lin stop resisting and eventually employed lawful force to direct Lin out of the vehicle.

       10.    Deny the allegations contained in paragraph 26 of Lin’s Complaint,

except admit so much of paragraph 26 which alleges that lawful force was employed to

direct Lin to the ground.




                                              2
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 3 of 7



       11.    Admit the allegations contained in paragraph 36 of Lin’s Complaint,

except lack knowledge or information sufficient to form a belief as to so much of

paragraph 36 which alleges that this information was provided to Lin while he was lying

on the ground.

       12.    Lack knowledge or information sufficient to form a belief as to the

allegations contained in paragraph 40 of Lin’s Complaint, except admit so much of

paragraph 40 which alleges that other deputies arrived on the scene and Lin alleged to

a deputy that he had been punched in the face.

       13.    Deny the allegations contained in paragraph 41 of Lin’s Complaint,

except admit so much of paragraph 41 which alleges that the deputy denied punching

Lin in the face.

       14.    Deny the allegations contained in paragraph 42 of Lin’s Complaint,

except admit so much of paragraph 42 which alleges that that Lin was placed in the

back of a squad car.

       15.    Admit the allegations contained in paragraph 44 of Lin’s Complaint,

except lack knowledge or information sufficient to form a belief as to the specific

questions asked and answered.

       16.    Lack knowledge of information sufficient to form a belief as to the

allegations contained in paragraph 51 of Lin’s Complaint, except deny so much of

paragraph 51 which alleges that the quoted language accurately states the words used

by Sgt. Murphy during the alleged conversation.




                                          3
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 4 of 7



       17.    Admit the allegations contained in paragraph 52 of Lin’s Complaint,

except lack knowledge or information sufficient to form a belief as to so much of

paragraph 52 which alleges that Lieutenant Wagner’s arrival was after the doctor had

written down Lin’s medical concerns.

       18.    Deny the allegations contained in paragraph 53 of Lin’s Complaint,

except admit so much of paragraph 53 which alleges that Lieutenant Wagner

explained the investigation process and informed Lin that an investigation was already

pending.

       19.    Answer the allegations contained in paragraphs 65, 71, 76, 80 and 87 of

Lin’s Complaint as previously answered.

       20.    Deny each and every other allegation contained in Lin’s Complaint not

specifically admitted, denied or controverted.

                                First Affirmative Defense

       21.    The "Monroe County Sheriff's Department" is not a legal entity, a proper

party defendant or subject to suit under the laws of the State of New York.

                              Second Affirmative Defense

       22.    The doctrine of respondeat superior is unavailable under New York State

law as a basis for imposing liability upon the County for the alleged tortuous conduct of

Sheriff O’Flynn or his deputies.

       23.    A county is not liable for the acts of the sheriff or his deputies unless it has

assumed such liability by local law.

       24.    The County has not assumed responsibility for the acts of Sheriff O’Flynn

or his deputies by local law. See, Code of Monroe County New York, Chapter 39.




                                              4
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 5 of 7



                                    Third Affirmative Defense

       25.    The doctrine of respondeat superior is unavailable under New York State

law as a basis for imposing liability upon Sheriff O’Flynn for the alleged tortuous conduct

of his deputies.

                                Fourth Affirmative Defense

       26.    Neither the County nor Sheriff O’Flynn has respondeat superior liability for

the conduct of Sheriff O’Flynn’s deputies under federal law.

                                    Fifth Affirmative Defense

       27.    Lin’s Complaint fails to state a claim upon which relief can be granted

against the County Defendants.

                                    Sixth Affirmative Defense

       28.    Neither the County nor Sheriff O’Flynn authorized, condoned, permitted or

ratified any improper or malicious conduct of any person or adopted any policy

condoning such conduct.

       29.    The County, and Sheriff O’Flynn, in his official capacity, have

governmental immunity from liability for damages for the causes of actions alleged in

Lin’s Complaint.

                               Seventh Affirmative Defense

       30.    Punitive damages cannot be awarded against the County or Sheriff

O’Flynn in his official capacity.

                                Eighth Affirmative Defense

       31.    There was no Monroe County Sheriff’s deputy employed on December 22,

2009 by the name of Michael Thompson.




                                               5
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 6 of 7



                                 Ninth Affirmative Defense

       32.    To the extent that Sheriff O’Flynn, Deputy Luther, Deputy Thomas, and

Sgt. Murphy are sued in their individual capacities, they have qualified immunity from

liability for damages for the claims alleged in Lin’s Complaint.


       Wherefore, the County Defendants demand:

       A.     A trial by jury;

       B.     Judgment dismissing Lin’s Complaint, all of his claims, together with costs

and disbursements;

       C.     Attorney’s and expert fees pursuant to 42 U.S.C. §1988;

       D.     For such other and further relief as this Court may deem just and proper.



                                 WILLIAM K. TAYLOR, MONROE COUNTY ATTORNEY
                                 Attorney for defendants County of Monroe, Sheriff Patrick
                                 O’Flynn, Monroe County Sheriff’s Department, Joedy Luther
                                 (sued herein as Joey Luther), Michael Thomas (sued herein as
                                 Michael Thompson), and Robert Murphy

                                 s/Michele Romance Crain
                                 __________________________________
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                                 Dated: January 27, 2011




                                              6
      Case 6:10-cv-06474-EAW-JWF Document 8 Filed 01/27/11 Page 7 of 7



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                                      7
